         Case 2:10-bk-11241-VZ            Doc 1-1 Filed 01/12/10 Entered 01/13/10 09:21:42                     Desc
                                        Ntc of Case Deficient 521 Page 1 of 1
                                         United States Bankruptcy Court
                                          Central District Of California
In re:
                                                                   CHAPTER NO.:   11
Jong Uk Byun
Bok Soon Byun
                                                                   CASE NO.: 2:10−bk−11241


                               NOTICE OF CASE DEFICIENCY
                   UNDER 11 U.S.C. § 521(a)(1) AND BANKRUPTCY RULE 1007
To Debtor and Debtor's Attorney of Record,
Pursuant to F.R.B.P. 1007, you must file the following documents within 14 days from the date of the filing of your
petition. Your case may be dismissed if you fail to do so.
Schedule B
Schedule C
Schedule D
Schedule E
Schedule F
Schedule A
Schedule G
Statement − Form 22B
Schedule H
Schedule I
Schedule J
Stmt. of Fin. Affairs
Eq. Sec. Hold. List

Even if the indicated document are not applicable to your particular situation, they must still be filed with the notation
'None' marked thereon.
According to Bankruptcy Rule 1007, within 14 days after you filed the petition, YOU MUST EITHER:

(1)      File the above−referenced documents and the proper number of copies [Local Bankruptcy Rule 1002−1]:
                        Chapter 11     1 Original and 3 Copies
OR

(2)      File and serve a motion for an order extending the time to file the required document(s).

 IF YOU DO NOT COMPLY, in a timely manner with either of the above alternatives, your case may be the subject of an order
to show cause to dismiss the case. Motion for extension of time to file schedules and other papers shall comply with Local
Bankruptcy Rule 1007−1, and shall be supported by admissible evidence demonstrating cause for the requested extension.

BY ORDER OF THE COURT                                                             JON D. CERETTO, CLERK OF COURT
Dated: January 12, 2010
                                                                                  By: Cynthia Banderas
                                                                                   Deputy Clerk

DEF − Revised 12/2009                                                                                              1 / CBQ
